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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00400 (AHA)
          v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                  Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00402 (AHA)
          v.

  DONALD J. TRUMP, et al.,

                  Defendants.



   DEFENDANTS’ CONSENT MOTION FOR LEAVE TO RESPOND REGARDING
               PLAINTIFFS’ SUPPLEMENTAL MATERIALS
       Plaintiffs AIDS Vaccine Advocacy Coalition (AVAC) and Global Health Council (GHC)

recently filed motions for leave to submit supplemental materials in support of their motions for

preliminary injunctive relief. Doc. 46 (AVAC); Doc. 47 (GHC). Defendants are unopposed to

Plaintiffs’ motions for leave to supplement the record, provided that Defendants are granted leave

to respond to the proposed new material. Thus, to the extent that Plaintiffs are granted leave to

supplement the record in support of their motions for preliminary injunctive relief after the motions

have been fully briefed, the Court should exercise its discretion to also permit Defendants to

respond to those materials. Baloch v. Norton, 517 F. Supp. 2d 345, 348 n.2 (D.D.C. 2007)
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(recognizing that when a movant raises arguments for the first time after the non-movant has

already responded, the court will either ignore those arguments in resolving the motion or provide

the non-movant an opportunity to respond to those arguments by granting leave to respond) (citing

Ben-Kotel v. Howard Univ., 319 F.3d 532, 536 (D.C. Cir. 2003)); Pub. Emps. for Env't Resp. v.

Nat'l Park Serv., 605 F. Supp. 3d 28, 38 (D.D.C. 2022) (granting leave to file surreply to address

new affidavit filed with reply brief); Doe v. Roman Catholic Diocese of Greensburg, No. 20-cv-

1750, 2021 WL 12137383 (D.D.C. Feb. 12, 2021) (granting motion for leave to file a surreply

where plaintiffs filed a new affidavit and introduced new factual material in reply); Lee v. Christian

Coal. of Am., Inc., 160 F. Supp. 2d 14, 23 n.4 (D.D.C. 2001) (granting motion for leave to file a

surreply brief where plaintiffs included three new declarations in their reply brief); Alexander v.

FBI, 186 F.R.D. 71, 74 (D.D.C. 1998) (granting motion for leave to file a surreply where the reply

included a declaration not included in the original motion).

       Accordingly, Defendants request leave to file their proposed response to Plaintiffs’

supplemental materials, attached herewith.       Plaintiffs are unopposed to Defendants’ instant

request.1




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  As noted in their motion for leave, the GHC Plaintiffs are unopposed to the instant motion. Doc.
47 (GHC) at 4. Defendants have also conferred with the AVAC Plaintiffs, who stated that they
were unopposed, provided the government notes its non-opposition to Plaintiffs’ motion for leave.
As stated above, Defendants are unopposed, provided that they are given an opportunity to
respond.
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Dated: March 5, 2025                     Respectfully submitted,
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